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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

    UNITED STATES OF AMERICA                           §
                                                       §
    v.                                                 §
                                                       §         No. 4:20-CR-212
    DEBRA LYNN MERCER-ERWIN (1)                        §         Judge Mazzant



                                            ORDER

     On this day came on for consideration the United States’ Motion in Limine, and after

considering same, this Court hereby rules as follows:

MIL #1        Any reference to a public authority defense or any facts implying or stating
that any defendant has acted on behalf of the U.S. government as an “informant.”


     GRANTED____X____             DENIED_________

MIL #2
      Any reference to an advice of counsel defense.

         GRANTED____X____         DENIED_________

MIL #3
      Any reference to a mistake regarding the law or a mistake of law defense.

         GRANTED____X____         DENIED_________

MIL #4         That counsel for the defendants do not reference in any way to any
statements the defendants or co-defendant or co-conspirator may have made to law
enforcement unless the statements are admitted into evidence as part of the United States’
case.
      GRANTED____X____      DENIED____X____
      MODIFIED: DENIED as to trial generally. GRANTED as to opening statement.
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MIL #5         Any statement of a co-defendant or co-conspirator.

       GRANTED____X____         DENIED____X____
       MODIFIED: DENIED as to trial generally. GRANTED as to opening statement.

MIL #6        Improper impeachment of a witness with a statement which that witness has neither written
nor adopted as his or her own.

       GRANTED____X____           DENIED_________
       MODIFIED: with the exception of refreshing a witness’s memory.

MIL #7         Any prior bad acts any witness may have committed not resulting in a conviction or
pending charges.

       GRANTED____X____                DENIED_________

MIL #8          Reputation or character testimony concerning any of the United States' witnesses, without
first allowing the Assistant United States Attorney, outside the presence of the jury, to question such
reputation witness to ascertain if he/she possesses the legal qualifications to so testify. This includes, but is
not limited to, asking one witness to comment on the credibility of another witness without first
approaching the bench.

       GRANTED________ DENIED____X____

MIL #9           Any statement or argument calling overtly or tacitly for jury nullification. This includes any
statement encouraging the jury not to follow the law and/or the Court’s instructions. Specifically, any
discussion of nullification or invitation to not follow the law or this Court’s instructions related specifically
to the enforcement of laws criminalizing registration or export violations related to aircraft. Including, but
not limited, to any appeal for pity for the defendants or their families. Including, but not limited to any
argument that other people, businesses or organization were not or are not currently charged with a crime
in a call for nullification.

       GRANTED____X____                DENIED_________

MIL #10        That counsel for the defendants and/or the defendants have a personal belief or opinion
regarding anything related to this case and/or trial, including, but not limited to, any of the following the
innocence or lack of guilt of the defendants; the credibility of the defendants or the United States' witnesses
or any evidence the United States presents.

       GRANTED____X____                DENIED_________
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MIL #11      Any statement asking the jury to stand in the shoes of the defendants or their families. This is
improper argument.

       GRANTED____X____               DENIED_________

MIL #12        The health condition of the trial defendants or any family member of the defendants.
For example, in a Motion for Continuance filed December 1, 2022, Moffett reported to this Court that she was
pregnant and her “due date” was February 2023. Dkt. 313. The fact that Moffett may have recently given birth
to a child and/or may be breastfeeding a child or even that Moffett has children or a baby are not relevant and
are inappropriate matters for presentation or comment before the jury. Further, even if the health issue were
relevant, the danger of unfair prejudice substantially outweighs any probative value pursuant to Fed. R. Evid.
403.
        GRANTED____X____              DENIED_________
        MODIFIED: unless they testify, then they can tell their story.

MIL #13        Testimony and/or evidence about the defendants’ children or family.

       GRANTED____X____            DENIED_________
       MODIFIED: unless they testify, then they can tell their story.

MIL #14        Specific prior “good” acts of the defendants. “Good” acts are not relevant to prove or disprove
that the defendants committed the offenses charged in this case.

       GRANTED____X____            DENIED_________
       MODIFIED: unless they testify, then they can tell their story.

MIL #15          Reputation and/or character testimony or evidence concerning the defendants without first
allowing the Assistant United States Attorney, outside the presence of the jury, to question reputation or
character witnesses to ascertain if he/she possesses the legal qualifications to so testify. No character evidence
related to the defendant should be elicited to suggest to the jury that the defendant acted in conformity with it
either for truthfulness or as law abiding.

       GRANTED________ DENIED____X____

MIL #16        The impact of the jury’s verdict on the defendants or their families.

       GRANTED____X____               DENIED_________

MIL #17        Any punishment the defendants may face if they are convicted in this case; including any
specific punishment range associated with any specific charge in this case as it relates to the trial defendants.

       GRANTED____X____               DENIED_________

MIL #18         Conditions in penal institutions and or the impact of incarceration on the defendant and or
their families.

       GRANTED____X____               DENIED_________
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    MIL #19          Any bolstering, including, but not limited to, an argument that a defendant offered to enter
    a plea of guilty to any specific charges because they are guilty of only that, but the defendant has entered a
    plea of not guilty to the additional charges. In other words, any argument that when the defendant is guilty,
    they admit it, but when not guilty, they contest it.

           GRANTED____X____               DENIED_________

    MIL #20    Any comment on the U.S. Attorney’s Office’s failure to follow internal directives USAM/
    JUSTICE MANUAL.

           GRANTED____X____               DENIED_________

    MIL #21       Any accusations against any AUSAs made by the defendant/ any entity or organization;
    including accusations of discovery violations.

.          GRANTED____X____               DENIED_________

    MIL #22        Any pretrial rulings by the Court.

           GRANTED____X____               DENIED_________

           IT IS SO ORDERED.
           SIGNED this 10th day of April, 2023.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE
